CERTIFICATION OF A SEXUALLY DANGEROUS PERSON

(1) I, Ivonne E. Bazerman, am Chairperson of the Federal
Bureau of Prisons (Bureau) Certification Review Panel,
Washington, D.C. Pursuant to 28 C.F.R. § 0.97, the Director of
the Bureau has delegated to me the authority to certify persons
in Bureau custody as sexually dangerous, as authorized by
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(2) Bureau records reflect the following: Inmate Jack Louis
Sporich, Register Number 33898-112, is in Bureau custody at the
Federal Correctional Institution, Butner, North Carolina, in
service of a 120-month term of imprisonment and a 5-year
term of supervised release following his conviction for Engaging
in Illicit Sexual Conduct with a Minor in Foreign Places (two
counts) (C.D.Cal.) (Docket No. CR 09-934-PSG), for engaging in
sexually explicit conduct with two minor males, both
approximately 12 years of age at the time in Cambodia. His
projected release date is October 20, 2017.

(3) Based on a review of his Bureau records, I certify he
is a sexually dangerous person as defined by 18 U.S.C.

§ 4247(a) (5), and sexually dangerous to others as defined by
18 U.S.C. § 4247 (a) (6). My certification is based on information
found in Bureau records which includes, but is not limited to,

the following:

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(a) He previously engaged or attempted to engage in
sexually violent conduct or child molestation as evidenced
by his current offense conduct and prior convictions for:
Lewd & Lascivious Acts with a Child under age 14 (seven
counts}, Superior Court of California, Ventura County (Case
No. CR22776), for fondling the penises of five male
children and also orally copulating the penis of one of
these children as well as one additional child, totaling
SLX Victims;

(b) A psychological review and assessment indicated
the following diagnoses: Pedophilic Disorder, Exclusive,
Sexually attracted to males;

(c) A review and assessment of him using an actuarial
risk assessment instrument (Static-99R) was conducted.

This result, in addition to his prior offense conduct,
sexual preoccupation, deviant sexual interest, emotional
congruence with children, lack of emotionally intimate
relationships with adults and grievance hostility, indicate
he will have serious difficulty refraining from sexually

violent conduct or child molestation if released.

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Pursuant to 28 U.S.C. § 1746, I declare under penalty of

perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief.

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